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The official minutes of the University of South Carolina Board of Trustees are maintained by the
Secretary of the Board. Certified copies of minutes may be requested by contacting the Board of
Trustees’ Office at trustees@sc.edu. Electronic or other copies of original minutes are not official
Board of Trustees' documents.

                                        University of South Carolina
                                         BOARD OF TRUSTEES

                                             February 20, 2015

       The University of South Carolina Board of Trustees met at 4:05 p.m. on Friday, February 20, 2015,

in the Board Room at 1600 Hampton Street.

       Members present were: Mr. Eugene P. Warr, Jr., Chairman; Mr. John C. von Lehe, Jr., Vice

Chairman; Mr. Mark W. Buyck, Jr.; Mr. Thomas C. Cofield; Mr. A. C. “Bubba” Fennell III; Dr. C. Edward

Floyd; Mr. William C. Hubbard; Mr. William W. Jones, Jr.; Mr. Toney J. Lister; Mr. Miles Loadholt; Mr.

Hubert F. Mobley; Ms. Leah B. Moody; and Mr. Thad H. Westbrook.

       Members absent were Mr. Chuck Allen; Mrs. Paula Harper Bethea; Mr. J. Egerton Burroughs; Dr.

C. Dorn Smith III; Ms. Molly M. Spearman; Mr. Mack I. Whittle, Jr.; and Mr. Charles Williams.

       Also present were faculty representative Dr. James H. Knapp and student representative Lindsay

Richardson.

       Others present were: President Harris Pastides; Secretary Amy E. Stone; Chief Operating Officer

Edward L. Walton; General Counsel Walter “Terry” H. Parham; Provost Michael D. Amiridis; Vice

President for Student Affairs Dennis A. Pruitt; Chief Financial Officer Leslie Brunelli; Vice President for

Human Resources Chris Byrd; Athletics Director Ray Tanner; Chief Communications Officer Wes

Hickman; USC Aiken Chancellor Sandra Jordan; USC Beaufort Chancellor Jane Upshaw; Palmetto College

Chancellor Susan Elkins; Associate Vice President for Business Affairs, Division of Administration and

Finance, Helen T. Zeigler; Executive Director of Audit & Advisory Services Pam Doran; College of Arts

and Sciences Dean Mary Anne Fitzpatrick; Director of Facilities Planning and Programming and

University Architect Derek S. Gruner; Director of Governmental and Community Relations and

Legislative Liaison Shirley D. Mills; Director of Capital Budgets and Financing, Division of Administration

and Finance, Charlie Fitzsimons; Associate Director of Strategic Planning and Assessment Cameron

Howell; University Controller Jennifer Muir; University Treasurer Patrick Lardner; Chief of Staff,

President’s Office, J. Cantey Heath, Jr.; USC Alumnus and Clinical Associate Professor of Surgery Jim C.

Chow, M.D., Major General Retired, S.C. Air National Guard; the Reverend Frank Anderson, Lutheran

Campus Ministry; University Technology Services Production Manager Wes Reardon; Board staff

members Debra Allen and Leah Kososki.

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       I.      Call to Order

               Chairman Warr called the meeting to order and stated that notice of the meeting had been

posted and the press notified as required by the Freedom of Information Act; the agenda and supporting

materials had been circulated; and a quorum was present to conduct business.

       Mr. Hickman stated that Lauren Shirley with the Daily Gamecock was in attendance.

Chairman Warr invited The Reverend Frank Anderson, Lutheran Campus Ministry, to deliver the

invocation.

       Chairman Warr called on S.C. Air National Guard Major General Retired Jim Chow, M.D., for a

special presentation in recognition of the University’s support of the military. Dr. Chow said that about

three and a half years ago a program was started that had impacted the entire country. The story about this

program began one day while he was at the Pentagon in the chow hall.

       A young airman who was sharing his experience about Afghanistan said that the hard part wasn’t in

Afghanistan, it was at the University. He was ordered to be activated November 2 to go to Afghanistan as

a boomer, the refueler on the back of an aircraft carrier, which is a hard to fill position, and to report on

December 1. As a good student, he went to his professor and told him that he was being activated. The

professor trying to be helpful, offered to help him study and to give him his test early so he could finish

the semester early. But with five other professors and the need to move out of campus housing and to tell

his girlfriend and family goodbye before leaving, there wasn’t time. The professor told him that the rules

were clear, withdrawing after a specific date would most likely result in him failing and that he was past the

date of being able to obtain a refund on his tuition and housing fees.

       After hearing this story, Dr. Chow contacted Dr. Amiridis and within the University’s existing

framework, worked out the details that would allow a University student who is activated to go to war to

have a refund of their tuition. The program also allows the unused portion of their fees for room and

board to be refunded, and these students would receive a military withdrawal. When they returned, these

students would receive preference for obtaining room and board and enrolling in the classes they need.

While this does not sound like much, Dr. Chow said, it means the world to these students who need to

concentrate on what they need to do as a member of the military.

       Using the example of the University of South Carolina, Dr. Chow approached other institutions of

higher education in South Carolina to obtain support for similarly situated military students. These schools

followed the University’s template and now the program has spread to the entire nation, he said, all

because the University of South Carolina under the direction of its provost clearly spelled out the need for

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supporting young men and women in uniform. Dr. Chow thanked the Board and presented two framed

flags to Provost Amiridis in recognition for all that is done on behalf of military students. The flags were

flow in Iraq and Afghanistan during Operation Iraqi Freedom and Enduring Freedom.

       Provost Amiridis accepted the presentation on behalf of the University, stating: “We do very little

sitting in offices and making decisions. The people who are in Afghanistan and Iraq and on the front lines

deserve everything that we can do to help them. Quite frankly, I accept this on behalf of the University

because I just coordinated with many offices within the University. I am very proud of the program that

we started.”

       Chairman Warr next called for a motion to enter Executive Session for personnel matters. Mr.

Fennell so moved and Mr. von Lehe seconded the motion. The vote was taken and the motion carried.

Chairman Warr invited the following persons to remain: President Pastides, Secretary Stone, the

President’s Executive Council, Ms. Doran, Ms. Richardson, and Dr. Knapp.




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Return to Open Session

       II.    Approval of Minutes

              The following six sets of minutes were presented for approval:

              A.     Academic Affairs and Faculty Liaison Committee, December 16, 2014

              B.     Executive Committee, December 16, 2014

              C.     Board of Trustees, December 16, 2014

              D.     Called Board of Trustees, February 5, 2015

              E.     Called Board of Trustees, February 9, 2015

              F.     Called Academic Affairs and Faculty Liaison Committee, February 17, 2015

       Chairman Warr stated that there were no additions, deletions or corrections to the minutes;

therefore, they stood approved as provided for review on the Board Portal.

       III.   Committee Reports

              A.     Buildings and Grounds Committee
                     (The Honorable William W. Jones, Jr., reported)

                     The Buildings and Grounds Committee met earlier in the day, and the following

items required Board approval. First, Mr. Jones asked Secretary Stone to read a statement that is required

for the minutes.

       Secretary Stone stated: “The University hereby declares its official intent, pursuant to Federal

Regulations, to reimburse itself from the amounts of proceeds of the tax-exempt bond issue.”

                     1.      Phase I Approval: USC Beaufort Hilton Head Island Hospitality Management
                             Facility Construction/Land Acquisition

                             On behalf of the Buildings and Grounds Committee, Mr. Jones moved to

establish this project to include Phase I Design with a budget of $367,500 and Preliminary Land

Acquisition assessments with a budget of $20,000 for a total of $387,500 to be funded with private funds.

Mr. von Lehe seconded the motion. The vote was taken and the motion passed.

                     2.      Other Approvals

                             a.     2015 Comprehensive Permanent Improvement Plan (CPIP)

                                    On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to adopt the 2015 Comprehensive Permanent Improvement Plan as presented. Mr. Lister seconded the

motion. The vote was taken and the motion passed.

       Mr. Jones noted that individual projects would be presented to the Trustees for approval at the

appropriate time in accordance with the Five-Year Capital Improvement Plan.

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                             b.     CBM Research Lab and Used Fuel Research Lab Renovation

                                    On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to establish and fully fund this project with a budget of $500,000 to be funded with $150,000 of grant

direct funds, $150,000 of grant-generated research funds and $200,000 of private funds. Mr. Westbrook

seconded the motion. The vote was taken and the motion passed.

                             c.     1600 Hampton Street Parking Garage Repairs

                                    On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to establish and fully fund this project with a budget of $500,000 to be funded with Parking Operating

Funds. Mr. Fennell seconded the motion. The vote was taken and the motion passed.

                             d.     Pendleton Street Parking Garage Repairs

                                    On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to establish and fully fund this project with a budget of $575,000 to be funded with Parking Operating

Funds. Mr. Cofield seconded the motion. The vote was taken and the motion passed.

                             e.     Campus Building Envelope Repairs II

                                    On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to establish and fully fund this project with a budget of $975,000 to be funded with Institutional Capital

Project Funds. Ms. Moody seconded the motion. The vote was taken and the motion passed.

                             f.     Utility Distribution Renewal

                                    On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to establish and fully fund this project with a budget of $640,000 to be funded with Institutional Capital

Project Funds. Mr. Mobley seconded the motion. The vote was taken and the motion passed.

                             g.     Energy Plant Repairs and Modifications I

                                    On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to establish and fully fund this project with a budget of $950,000 to be funded with Institutional Capital

Project Funds. Mr. Hubbard seconded the motion. The vote was taken and the motion passed.

                             h.     Mechanical Systems Replacement I

                                    On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to establish and fully fund this project with a budget of $500,000 to be funded with Institutional Capital

Project Funds. Dr. Floyd seconded the motion. The vote was taken and the motion passed.

                             i.     Steam Expansion Joints Repairs II

                                    On behalf of the Buildings and Grounds Committee, Mr. Jones moved
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to establish and fully fund this project with a budget of $400,000 to be funded with Institutional Capital

Project Funds. Mr. Loadholt seconded the motion. The vote was taken and the motion passed.

                             j.       Richard T. Greener Sculpture Installation

                                      On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to allow the Committee for the Richard T. Greener Sculpture to conduct private fund raising for the

Richard T. Greener Sculpture. Mr. Buyck seconded the motion. The vote was taken and the motion

passed.

                             k.       Building Name Change: Health Sciences Building to the School of
                                      Journalism and Mass Communications Building

                                      On behalf of the Buildings and Grounds Committee, Mr. Jones moved

to change the current name of the Health Sciences Building to School of Journalism and Mass

Communications Building. Mr. Westbrook seconded the motion. The vote was taken and the motion

passed.

                      3.     Gift Naming Opportunities

                             On behalf of the Buildings and Grounds Committee, Mr. Jones moved to

approve the following gift namings as recommended by the Gift Naming Opportunities Committee and

distributed in the Board materials.

                             a.       Alumni Center

                                      i.     James M. Chakales and Family Meeting Room

                                      ii.    The Laura Todd and James C. Leventis ’60 BS, ’64 JD 3rd Floor
                                             Lobby

                             b.       School of Law

                                      –      The Sweeny Wingate & Barrow P.A. Circulation Desk

       Mr. Hubbard seconded the motion. The vote was taken and the motion passed.

       The committee also was briefed on other campus projects and received an update on the

University’s Five-Year Capital Improvement Plan and the University’s Public-Private Partnership Projects.

              B.      Intercollegiate Athletics Committee
                      (The Honorable Mark W. Buyck, Jr., reported)

                      Since everyone was present for the Intercollegiate Athletics Committee meeting

earlier in the day, Mr. Buyck indicated he would make an abbreviated report. In the meeting earlier in the

day, Athletics Director Ray Tanner presented the numerous academic successes of student-athletes. Most

notable was the achievement of 1st place on the Fall SEC Academic Honor Roll for the 9th straight year.

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In the competition arena, Mr. Tanner cited records set by the football team, which included four straight

Bowl wins, 40 home wins in four seasons, and a 36-6 win record at Williams-Brice since 2009. Mr. Tanner

also announced that the University was one of only two schools in the NCAA where both Men’s and

Women’s Basketball averaged 10,000 or more fans in attendance per game. He said that Gamecock Fans

were the best!

       Following Mr. Tanner’s report, the committee heard from President Pastides on recent action

regarding governance reform and autonomy legislation at the National Collegiate Athletic Association

(NCAA).

                 C.   Executive Committee
                      (The Honorable Eugene P. Warr, Jr. reported)

                      During this morning’s meeting of the Executive Committee, the Mid-Year Financial

Review was presented, along with a Barclays Capital Debt Update. The information in these reports also

was made available for review by all Trustees on the Board Portal.

       The Executive Committee also approved a three-year enterprise licensing agreement valued at

$516,248.58 with Adobe Systems, Inc. for Adobe Acrobat Professional and Adobe’s Creative Cloud of

creative desktop apps and services, collaboration, license management tools, and enterprise-level support.

The committee also approved a five-year lease of 7,677 square feet of space on the first floor of 800 Huger

Street for the College of Social Works’ Center for Child and Family Studies. The annual cost of the lease is

$99,900 and includes utilities, janitorial services, building and ground maintenance and repairs.

       The Executive Committee approved eight items for recommendation to the full Board for action.

These were:

                      1.     Legal Agreements

                             a.     U.S. Department of Justice Agreement

                                    On behalf of the Executive Committee, Mr. Warr moved approval of

an agreement to rescind Addendum H to the Operating Agreement between the U.S. Department of

Justice (DOJ) and the University that provided for the renovation of the Close-Hipp Building and

exclusive occupancy and use of the building by DOJ. The agreement recognizes that the original need of

DOJ for the Close-Hipp Building changed due to circumstances that could not have been anticipated and

that the University now has a need to retain the building. Under the agreement, the University will receive

$31.5 million as the reasonable net present value of the lost cash flow resulting from the rescission of

Addendum H.


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       Mr. Fennell seconded the motion. The vote was taken and the motion passed.

                             b.     Baseball Stadium Repair Agreement

                                    Chairman Warr called on Mr. Parham to read a motion on behalf of

the Executive Committee for approval of an agreement related to the Baseball Stadium repair. Mr. Parham

said the motion was to approve the University settlement of the claims against eight companies related to

the repairs of the Carolina Stadium as outlined in the handout presented to the Board of Trustees earlier in

the day.

       Mr. Lister seconded the motion. The vote was taken and the motion passed.

                      2.     Vice President for System Planning

                             On Behalf of the Executive Committee, Mr. Warr moved approval of the

appointment of Mary Anne Fitzpatrick as Vice President for System Planning with a base salary of

$273,764, effective July 1, 2015.

       Mr. Jones seconded the motion. The vote was taken and the motion passed.

                      3.     State Institution Bond Refunding

                             On Behalf of the Executive Committee, Mr. Warr moved approval of a

resolution to issue State Institution Refunding Bonds for $37 million to be used to refund outstanding

Series 2006B State Institutions Bonds, which are projected to result in substantial debt service savings. The

complete resolution and supporting material as prepared by the Pope Zeigler law firm was made available

on the Board Portal for Trustees to review.

       Mr. Cofield seconded the motion. The vote was taken and the motion passed.

                      4.     Contracts

                             a.     USC Beaufort/Hilton Head Island MOU

                                    On Behalf of the Executive Committee, Mr. Warr moved approval of a

Memorandum of Understanding (MOU) between USC Beaufort (USCB) and the Town of Hilton Head

Island (Town) to develop a multi-phase Master Plan for which the Town commits to providing funding

not to exceed $22 million. The MOU further stipulates that Phase I of the Master Plan will result in

construction of a Hospitality Management Building; that USCB will provide $2.5 million funded by the

local higher education commission to Phase I of the Master Plan; and that USCB will operate and maintain

all facilities constructed under the Master Plan for higher education and adult education services.

       Mr. Westbrook seconded the motion. The vote was taken and the motion passed.



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                              b.     Wiley Subscription Services, Inc.

                                     On Behalf of the Executive Committee, Mr. Warr moved approval of

an amendment to the University’s five-year contract with Wiley Subscription Services to provide online

access to electronic journals across a host of academic disciplines at a total cost of $2,857,061.

       Ms. Moody seconded the motion. The vote was taken and the motion passed.

                              c.     Shorelight Education, LLC

                                     On Behalf of the Executive Committee, Mr. Warr moved approval of

an agreement between the University and Shorelight Education, LLC and Shorelight-Palmetto, LLC to

create an International Accelerator Program to attract and retain international students. This pathway

program is analogous to the USC Gamecock Gateway Program. Students recruited by Shorelight will take a

structured curriculum of English language proficiency, acculturation and academic courses. Student

successfully completing the pathway program, which lasts up to one year, will be admitted to the

University. Trustees were provided a summary detailing the financial arrangements and enrollment

limitations. [Attachment A]

       Ms. Lister seconded the motion. The vote was taken and the motion passed, with Mr. Hubbard, Mr.

von Lehe and Mr. Westbrook abstaining.

                              d.     Academic Partnerships, LLC

                                     On Behalf of the Executive Committee, Mr. Warr moved approval of

an amendment to the 2012 Service Agreement between the University and Academic Partnerships, LLC

(AP). Under this agreement AP provides course design, development consultation, and administrative

support services for an expansion of designated University undergraduate and graduate online course

offerings. The amendment, a copy of which was provided Trustees to review, establishes the AP Credit

Hour Fee as 40 percent of the revenue that the University derives from tuition charged for undergraduate

and graduate courses identified by the University and for which AP provides services as specified under its

agreement with the University.

       Ms. Buyck seconded the motion. The vote was taken and the motion passed.

       III.   Report of the Alumni Association

              Chairman Warr indicated that Alumni Association President would present her report at the

next meeting of the Board of Trustees.

       IV.    Report of the President

              Chairman Warr call on President Pastides who noted that on February 5 the University

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endured a crisis that was unanticipated, but the University was prepared and learned from the experience.

First and foremost, he said, the University learned that it was a “loving, caring and resilient community,

starting with the Arnold School of Public Health and fanning out to each and every unit and corner of the

University.”

          President Pastides thanked Law Enforcement and Safety, which he described as “extraordinarily

responsive,” along with the Columbia Police Department and the State Law Enforcement Division. He

said that the University knows its emergency notification system works, but that every single thing that

happened would be reviewed, as well as every single response, to use those lessons if ever needed in the

future.

          Spring semester was in full swing he said, with spring break fast approaching much to the delight of

students. He also noted that University representatives met with the House Ways and Means Committee

on January 7, and would meet with the Senate Finance Committee on March 18. Between these important

dates, the University held a successful Carolina Day at the Statehouse on February 4 – a day for all of the

University’s campuses to shine, to rise and be heard.

          President Pastides noted that Student Government elections had been taking place and would

continue next week. There would be ample opportunity to thank Lindsay Richardson who was not yet

done with her service as President of Student Government. On March 18, he said, the inauguration of the

new Student Government President would be held – either Jonathan Holt or Jonathan Kaufman,

depending on the following week’s runoff.

          He reminded everyone of the upcoming groundbreaking for the University’s new Engineering

Innovation Center at the corner of Blossom and Assembly Streets. The center will include space for USC

engineers and for the IBM Center for Applied Innovation. President Pastides also noted that the ability to

return the Close-Hipp building into use for the University’s core mission, teaching and learning, was an

unanticipated and extremely happy event. It would allow the University to take care of its most precious

commodity, its students.

          V.     Other Matters

                 Chairman Warr noted that in light of the tragic events of February 5, Mr. Buyck had asked

the following resolution be prepared. He asked Secretary Stone to read the resolution.




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                                      BOARD OF TRUSTEES
                                          Resolution

               WHEREAS, Raja Fayad, M.D. served as an associate professor of applied
                   physiology and graduate director at the University's Arnold School of
                   Public Health;

               WHEREAS, he distinguished himself as an excellent teacher and researcher in
                   the Department of Exercise Science from 2008 until his tragic death;

               WHEREAS, he dedicated his life’s work to teaching and cancer research and
                   was an active citizen of the University community who was highly
                   respected by his colleagues in South Carolina and around the country;

               THEREFORE, BE IT RESOLVED that the Board of Trustees of the
                   University of South Carolina hereby express its condolences and
                   heartfelt sympathy to the family and friends, students and colleagues of
                   Dr. Fayad; and

               BE IT FURTHER RESOLVED that a copy of this resolution be included in
                     the minutes of the Board of Trustees and presented to Dr. Fayad’s
                     family in remembrance of his death on February 5, 2015.

                              PRESENTED THIS 20TH DAY OF FEBRUARY 2015
                                   AT COLUMBIA, SOUTH CAROLINA

       Mr. Buyck moved approval of the resolution. Mr. Fennell seconded the motion. The vote was taken

and the motion passed.

       Chairman Warr then called on Dr. Floyd who had a matter that he wanted to discuss.

       Dr. Floyd said that over the years, there had been a struggle to establish a home for Greek Life on

the Columbia campus and that many Trustees had worked together to obtain a Greek Village. However,

things were happening now that placed the Greek Village and all that had been accomplished in jeopardy.

       “The hazing that is occurring in University fraternities is absolutely absurd,” Dr. Floyd said. Hazing

goes beyond the common definitions, he said, recommending that Trustees pass a resolution to put an

absolute stop to hazing of any kind. He asked for a set of penalties for any chapter or individual caught

condoning hazing of any kind.

       Dr. Pruitt thanked Dr. Floyd for expressing his concern and bringing up what was a national issue.

Hazing has become part of college culture, he said, noting that 55 percent of the students who come to

college say that they participated in an organization (not just Greek groups) where hazing was present. In

the past 10 years, 60 students have died across the country as a result of fraternity hazing. There has been

almost $70 million in insurance settlements paid in the past 10 years related to fraternity hazing. This is a

national problem.

       At the University, Dr. Pruitt said four fraternities had been suspended for hazing and other

inappropriate activities. It was not just a matter of educating. It was not just a matter of enforcing. It was a

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matter of changing the culture. A strong statement by the Board of Trustees would be delivered to

students and to prospective students and would have a wonderful effect on the University’s ability to

address this culture, he said. President Pastides already had requested a presentation on this issue and

indicated a willingness to consider eliminating pledging, so that students would become a member of a

fraternity when selected. Bonding and loyalty would evolve through community service projects and other

positive activities.

        “A strong statement by the Board of Trustees would help the three-year effort to try and address

this issue,” Dr. Pruitt said. Dr. Floyd expressed his concern that there is more to hazing than the physical

connotation that many associate with the term. Dr. Pruitt explained that the University had identified 11

“touch points” with students in its effort to educate them about the various aspects of hazing, many of

which are psychological, including intimidation, mental stress and fear, as well as activities that involve

humiliation, embarrassment and servitude. He outlined the various opportunities the University uses to

education students about hazing.

        Ms. Richardson thanked the Board for addressing an issue that students see on campus whether or

not they are affiliated with a Greek organization. She said that when hazing can risk someone’s life,

punitive measures are needed. She said a multifaceted approach is needed that obligates all students, not

just those involved in Greek life, to report hazing incidents.

        Mr. von Lehe indicated support of a resolution, as did Mr. Jones who said it should be broad

enough to include bullying. Mr. Mobley said the Board needed to be proactive. Chairman Warr said that a

proposed resolution had been prepared, pending the Board’s discussion on the issue. Board members

agreed that a broad definition of the term hazing be included in a resolution. Mr. Hubbard summarized

that the take away from the discussion was that if the University wanted to step up enforcement, it would

have Board support.

        Chairman Warr said a resolution would be brought back to the Board stating that hazing had to be

stopped and that the University’s policy against hazing must be enforced. The term hazing also must be

fully understood and defined in such a resolution. President Pastides said he was worried about delaying

Board action on the topic. After additional discussion, the following resolution was proposed:

                WHEREAS the Board of Trustees is deeply troubled by the instances of
                    hazing (any ritual or activity involving harassment, abuse or humiliation
                    of any kind) occurring on college and university campuses across the
                    United States and the risks of emotional and physical harm to students
                    that may result;



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              BE IT RESOLVED that the Board of Trustees reaffirms that hazing – as
                    defined by state law and University policy – is a dangerous and reckless
                    activity inconsistent with the Carolinian Creed and the values and
                    campus community standards of the University of South Carolina; and

              BE IT FURTHER RESOLVED that the Board of Trustees fully supports the
                    University’s continuing efforts to protect its students by eliminating
                    hazing and holding accountable those individuals who engage in such
                    deplorable behavior.

       Chairman Warr asked for a motion to approve the resolution. Mr. Hubbard so moved and Mr.

Buyck seconded the motion. The vote was taken and the motion passed.

       Dr. Floyd noted that he supported President Pastides’ suggestion of a no pledge season and that the

feasibility of such a concept should be pursued.

       On another matter, Ms. Moody requested a matrix listing the various local higher education

commissions and the nature of their affiliation with University campuses. Ms. Brunelli said she would get

the matrix to Trustees.

       Chairman Warr then announced “today is Michael Amiridis’ last meeting with us.” Chairman Warr

continued with his recognition of Provost Amiridis, noting some of the accomplishments during his 21

years with the University. “He has meant a lot to us and I want all of us to be aware of what he has done.”

                     Dr. Amiridis came to the University in 1994 as an assistant professor in the
              Department of Chemical Engineering. He was promoted to associate professor
              and earned tenure in 1999; was appointed department chairman in 2002 and
              promoted to full professor in 2003. He became dean of the College of Engineering
              and Computing in 2006. In 2009 he was appointed Executive Vice President for
              Academic Affairs and Provost.

                      During his 20 plus years with Carolina, he has been recognized with the
              University’s highest undergraduate and graduate teaching awards, as well as awards
              for integrating undergraduate teaching and research, and the College of
              Engineering’s Research Achievement Award. In 2012 he was elected a fellow of
              the American Association for the Advancement of Science.

                     Dr. Amiridis has secured $18 million in external funding for projects on
              which he served as principal investigator while supervising the completion of 23
              doctoral theses and publishing 98 peer-reviewed articles (23 of which were
              published during his tenure as provost), and presenting 180 seminars and papers at
              national and international meetings.

                     As Provost, Dr. Amiridis has led the efforts for an unprecedented growth
              in student enrollment, accompanied by a significant improvement in the quality of
              the undergraduate class. He also initiated the most ambitious faculty hiring
              program in the University’s history, securing the funds to create 200 net new
              tenure/tenure track positions in a four-year period. He also documented the
              University’s academic progress by designing an academic dashboard in the spirit of
              transparency and accountability.

                     Under Dr. Amiridis’ leadership, a number of University initiatives have
              been implemented, including Palmetto College, Carolina Core, USC Connect, On
              Your Time, Global Carolina, as well as the Community Engagement Office and
              the Presidential Doctoral and Provost Teaching Fellows programs for doctoral

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               students. He also negotiated the creation of a new Medical School in Greenville
               and the integration of the clinical practice of the historic Medical School in
               Columbia with Palmetto Health.

                      Even though he is leaving us now, what he has done is going to continue to
               have great impact. We owe you a great debt of gratitude and we will remember you
               always. We really will miss you because we like you so much; you are such a good
               guy on top of all the things that you have done. Everyone here will watch you and
               where you are going. Where you’re going has no football program, which means
               you will have to come back and pull for the Gamecocks. Thank you for everything
               that you have done.

       Provost Amiridis thanked the institution for the support that he had been shown during his 21

years at the University. He told the Board that the institution was the people – the faculty, the staff, the

students, the Board, the alumni – all of whom had shown him support. He said he hoped his daughter

would decide to stay in Columbia and enroll in USC, which would give him the opportunity to come and

visit frequently. He concluded that “I wish every success to the institution because I really love the

University of South Carolina.”

       VI.     Adjournment

               Since there were no other matters to come before the Board, Chairman Warr declared the

meeting adjourned at 5:17 p.m.

                                                    Respectfully submitted,

                                                    Amy E. Stone
                                                    Secretary




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